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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


W.R. and her son, A.R., by and through his  )
mother, W.R.;                               )
                                            )
               Plaintiffs                   )
                                            )
        v.                                  )
                                            )   Civil Action No. 18-cv-11380
                                                                 __________
JEFFERSON BEAUREGARD SESSIONS )
III, Attorney General of the United States; )
U.S. DEPARTMENT OF HOMELAND                 )
SECURITY (“DHS”); KIRSTJEN                  )
NIELSEN, Secretary of DHS; U.S.             )
IMMIGRATION AND CUSTOMS                     )
ENFORCEMENT (“ICE”); THOMAS                 )
HOMAN, Acting Director of ICE;              )
PATRICK CONTRERAS, Director, ICE            )
Field Office for Enforcement Removal        )
Operations in Houston, Texas; U.S.          )
CUSTOMS AND BORDER                          )
PROTECTION (“CBP”); KEVIN K.                )
MCALEENAN, Acting Commissioner of           )
CBP; U.S. CITIZENSHIP AND                   )
IMMIGRATION SERVICES (“USCIS”);             )
L. FRANCIS CISSNA, Director of USCIS; )
U.S. DEPARTMENT OF HEALTH AND )
HUMAN SERVICES (“HHS”); ALEX                )
AZAR, Secretary of the Department of        )
Health and Human Services; OFFICE OF        )
REFUGEE RESETTLEMENT (“ORR”);               )
SCOTT LLOYD, Director of the Office of )
Refugee Resettlement; BCFS; KEVIN           )
DINNIN, President and CEO of BCFS; and )
PEDRO MARTINEZ, Administrator on            )
Duty BCFS Baytown.                          )
                                            )
               Defendants.
                                            )
                                            )



                                      COMPLAINT
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                                       INTRODUCTION

       1.       Plaintiff W.R. is an asylum-seeker whose nine-year old son, A.R., was forcibly

separated from her for no legitimate reason by the United States government. Upon information

and belief, she is one of reportedly thousands of parents who have recently been forcibly separated

from their minor children after entering the United States. W.R. has been attempting to secure the

release of her son, A.R. to her but the government has refused to release A.R. from the facility

where he is being detained. The government has provided no legitimate reason for the continued

detention of A.R. W.R. is deeply distressed and fears for the well-being of her child who she has

not seen for approximately 30 days. W.R. asks this Court for an order requiring the government

to immediately release her son, A.R., to her custody and care.

       2.       On May 28, 2018, W.R. arrived in the United States from Brazil with A.R. seeking

to escape years of abuse and threats by her husband and members of his family. W.R. voluntarily

surrendered herself and A.R. to a U.S. Customs and Border Protection (“CBP”) officer on patrol.

When asked by the officer why she had come to the United States, W.R. explained as best she

could given the officer’s inability to communicate in Portuguese that she had fled Brazil in fear

for her and A.R.’s life. During the entire time W.R. was detained, no other immigration authorities

asked W.R. why she had come to the United States.

       3.       Following their surrender to the CBP officer, W.R. and A.R. were detained in a

facility in Arizona. Immediately following their arrival at the CBP facility, the federal government

forcibly separated W.R. and A.R., detaining them in separate cages. W.R. could see A.R. in a

cage, with other children of all ages. She could see that he was upset, scared, and crying.

       4.       On May 30, 2018, W.R. saw an officer enter the cage where A.R. was being held

and remove A.R. along with a number of other children. W.R. screamed and cried but no one

came to assist or explain why they were taking A.R. from the cage. Later, W.R. was informed that
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A.R. was being moved to another location; despite her objection, A.R. was moved. W.R. was not

informed why or where A.R. was being taken. Upon information and belief, A.R. was transferred

to the custody of the Department of Health and Human Services (“HHS”) to a facility in Baytown,

Texas operated by an organization called BCFS.

       5.       On June 20, 2018, W.R. was released from custody. She currently resides with her

brother and his family in Massachusetts.

       6.       W.R. has not seen her son since May 30, 2018. Over the past several weeks, W.R.

has only been able to communicate with her son by telephone occasionally, and only for 3-5

minutes at a time. During these phone calls, A.R. has not been permitted to tell his mother where

he is located or provide any substantive information to her. When A.R. begins to share any

information with his mother, the phone is taken from him. W.R. is concerned that her son is not

being allowed to share the conditions of his confinement with her.

       7.       With the assistance of counsel, W.R. has undertaken every effort to have her son

returned to her. Upon her release from detention, W.R. immediately began to try to ascertain

A.R.’s whereabouts, but she was given no information about her son and was only provided with

a phone number she could call to try to get in touch with her son. With the assistance of counsel,

W.R. researched phone number area codes, which led her to believe that A.R. had been physically

transferred and moved to Texas. It was not until June 27, 2018, nearly 30 days after her son was

forcibly separated from her, that W.R. finally was able to determine that A.R. was being held in a

facility operated by Defendant BCFS in Baytown, Texas under the purported authority of

Defendant Office of Refugee Resettlement (“ORR”), a component of HHS.

       8.       On June 25, 2018, W.R. was instructed to fill out and submit a “Family

Reunification Packet,” identifying herself as the “sponsor” for A.R. W.R. promptly completed



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and submitted 46 pages of materials that same day. On June 27, 2018, a BCFS case worker

conducted a telephone “interview” with W.R. The case worker referred to W.R.—the mother of

the child at issue in this case—as a “sponsor.” On this call, W.R. was told that, due to recently

amended ORR rules, she and her two adult household members would need to visit a designated

location in Massachusetts to be fingerprinted in order to complete her Family Reunification papers.

She was told that after the fingerprints were submitted (along with other identifying information),

ORR would require additional time of at least 3-5 business days and possibly 20 days – just to

evaluate her sponsor application. On June 28, 2018, W.R. received a call from a different BCFS

case worker, who informed her that the earliest date she and her family members could be

fingerprinted is July 12, 2018.

         9.       Accordingly, under the government’s timeline, W.R. cannot be reunited with her

son until, at the earliest, late July 2018—nearly two months since their forcible separation.

         10.      This delay is unacceptable, unnecessary, and unconstitutional.

         11.      The government’s baseless refusal to immediately release A.R. to W.R.’s custody

constitutes a fundamental violation of the Fifth Amendment due process rights of W.R. and her

son.

         12.      This court is empowered to issue a writ of mandamus requiring the relevant

government officials to ensure the immediate release of W.R.’s son.

         13.      Finally, the government’s actions in this case violate both the Administrative

Procedures Act (“APA”), and the settlement agreement in Flores v. Sessions, 85-cv-4544 (C.D.

Cal.).

         14.      W.R. came to the United States with her young son seeking asylum and

immigration protection. At no point during her detention did immigration authorities conduct a



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“credible fear interview” with W.R., despite the fact that she informed a CBP agent that she feared

imminent death if she returned to Brazil. The federal government forcibly separated her from her

son and has kept them apart for nearly one month. An Executive Order issued on June 20, 2018

purporting to secure family reunification, but parents, like W.R., who have already waited far too

long to be reunited with their minor children, have obtained no relief and have been given no clear

assurance that they will be reunited with their children. For these reasons, and the reasons set forth

below, the Court should enter an order requiring Defendants to immediately release W.R.’s son

into her custody and providing any other relief that is just and proper.

       15.     As soon as practicable, W.R. and her undersigned counsel intend to file a motion

seeking emergency relief to have W.R. immediately reunited with her child.

                                         JURISDICTION

       16.     This Court has subject matter jurisdiction over this case pursuant to 28 U.S.C. §

1331 (federal question jurisdiction), the federal Declaratory Judgment Act (28 U.S.C. §§ 2201-

2202), the Fifth Amendment to the United States Constitution, 28 U.S.C. § 2241 (habeas

jurisdiction), 28 U.S.C. § 1361 (mandamus jurisdiction), 28 U.S.C. § 1346 (United States as

defendant), Art. I, § 9, cl. 2 of the United States Constitution (“Suspension Clause”), the

Administrative Procedures Act (5 U.S.C. § 704), and ¶ 24(B) of the Flores settlement agreement.

Plaintiff A.R. is in custody for purposes of habeas jurisdiction.

                                              VENUE

       17.     Venue is proper under 28 U.S.C. § 1391(e)(1) because plaintiff W.R. resides in

Malden, Massachusetts. Venue is further proper because Plaintiff A.R. will reside with his mother

in Massachusetts upon his release.

                                             PARTIES

       18.     Plaintiff W.R. is a citizen of Brazil. She is the mother of Plaintiff A.R.

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       19.     Plaintiff A.R. is a citizen of Brazil. He brings suit by and through his mother, W.R.

       20.     Defendant Jefferson Beauregard Sessions III is sued in his official capacity as the

Attorney General of the United States (“Attorney General”). In this capacity, he has responsibility

for the administration of the immigration laws pursuant to 8 U.S.C. § 1103, oversees the Executive

Office of Immigration Review, is empowered to grant asylum or other relief, and is a legal

custodian of Plaintiff A.R.

       21.     Defendant U.S. Department of Homeland Security (“DHS”) has responsibility for

enforcing the immigration laws of the United States.

       22.     Defendant Kirstjen Nielsen is sued in her official capacity as the Secretary of the

Department of Homeland Security. In this capacity, she directs each of the component agencies

within DHS. As a result, Defendant Nielsen has responsibility for the administration of the

immigration laws pursuant to 8 U.S.C. § 1103, is empowered to grant asylum or other relief, and

is a legal custodian of Plaintiff A.R.

       23.     Defendant U.S. Immigration and Customs Enforcement (“ICE”) is the sub-agency

of DHS that is responsible for carrying out removal orders and overseeing immigration detention.

       24.     Defendant Thomas Homan is sued in his official capacity as the Acting Director of

ICE, and is a legal custodian of Plaintiff A.R.

       25.     Defendant Patrick Contreras is sued in his official capacity as the Director of the

ICE Field Office for Enforcement Removal Operations in Houston, Texas, and is a legal custodian

of Plaintiff A.R.

       26.     Defendant U.S. Customs and Border Protection (“CBP”) is the sub-agency of DHS

that is responsible for the initial processing and detention of noncitizens who are apprehended near

the U.S. border.



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        27.    Defendant Kevin K. McAleenan is sued in his official capacity as the Acting

Commissioner of CBP.

        28.    Defendant U.S. Citizenship and Immigration Services (“USCIS”) is the Sub-

agency of DHS that, through its Asylum Officers, conducts interviews of certain individuals

apprehended at the border to determine whether they have a credible fear of persecution in their

home countries and should be permitted to apply for asylum.

        29.    Defendant L. Francis Cissna is sued in his official capacity as the Director of

USCIS.

        30.    Defendant U.S. Department of Health and Human Services (“HHS”) is a

department of the executive branch of the U.S. government which has been delegated with

authority over “unaccompanied” noncitizen children.

        31.    Defendant Alex Azar is sued in his official capacity as the Secretary of the HHS.

        32.    Defendant Office of Refugee Resettlement (“ORR”) is the component of HHS

which provides care of and placement for “unaccompanied” noncitizen children.

        33.    Defendant Scott Lloyd is sued in his official capacity as the Director of ORR.

        34.    Defendant BCFS is the entity operating the shelter in Baytown, Texas, a contracted

ORR facility that currently has physical custody of Plaintiff A.R.

        35.    Defendant Kevin Dinnin is sued in his official capacity as President and CEO of

BCFS.

        36.    Defendant Pedro Martinez is sued in his official capacity as the Administrator on

Duty of BCFS Health and Human Services-Baytown shelter in Baytown, Texas, the contracted

ORR facility that currently has physical custody of Plaintiff A.R




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                                              FACTS

       37.     On or about May 23, 2018, W.R. and her nine-year-old son, A.R., fled their home

country of Brazil to escape an immediate threat to their physical well-being.

       38.     On or about May 28, 2018, W.R. and her son arrived in or around Yuma, Arizona

(a town on the U.S.-Mexico border) and presented themselves to immigration authorities. W.R.

spoke to a CBP agent on patrol, who initially spoke to her in Spanish. W.R. told the agent she did

not understand and explained that she spoke Portuguese. The agent then used Google translate on

his cell phone in an attempt to translate text to Portuguese. Eventually, W.R. understood the agent

to be asking her why she came to the United States. W.R. answered that she fled Brazil in fear for

her life and her son’s life and was afraid of dying if she returned to Brazil.

       39.     The CBP agent then asked W.R. to fill out and sign paperwork which she did not

understand. The CBP agent confiscated W.R.’s money, identification, and belongings.

       40.     Despite W.R.’s statement to the CBP agent regarding the reason for her entry into

the United States, immigration authorities failed to refer W.R. for an initial screening before an

asylum officer, called a “credible fear interview.” See U.S. Citizenship and Immigration Services,

Questions       &       Answers:         Credible       Fear       Screening     (available      at

https://www.uscis.gov/humanitarian/refugees-asylum/asylum/questions-answers-credible-fear-

screening). With the exception of her initial contact with the CBP agent, no immigration

authorities asked W.R. why she had come to the United States, during her entire time in federal

custody.

       41.     After presenting themselves to the CBP agent, W.R. and A.R. were loaded into a

truck and taken to a facility, where W.R. was fingerprinted and photographed.

       42.     Immediately thereafter, A.R. and W.R. were forcibly separated. As one agent led

W.R. to a cage, another agent removed A.R.’s hand from hers and took him in a separate direction.
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As this occurred, A.R. was crying and calling out for W.R., and W.R. was shocked, confused, and

did not understand why her son was being taken from her.

       43.     For two days, W.R. and A.R. were housed in separate cages at the same facility. If

W.R. walked to one end of her cage, and A.R. did the same, W.R. could see him from afar. W.R.

could see that A.R. was frightened, crying, and very upset. W.R. could see that A.R. was housed

in a cage with other children of various ages some appearing as young as two or three, which had

a cement floor, and did not have beds or mattresses. Temperatures were cold in their cages, and

W.R. feared for her son’s well-being. W.R. felt helpless listening to her son scream for her and

being unable to get to him.

       44.     On or about May 30, 2018, W.R. observed someone in a uniform that she did not

recognize enter the children’s’ cell and remove some of the children. A.R. was among those

removed from the cell. When W.R. saw this she began pounding on the door of her cell and

screaming for help, but no agents responded to her cries. W.R. was terrified regarding what was

happening to her son.

       45.     W.R. was later informed that A.R. was being transferred to another location. W.R.

objected, but was told he would be transferred over her objection. W.R. was told not to worry

because as soon as she was released she would be able to retrieve A.R. W.R. was permitted to

give A.R. a hug goodbye from her cell. This is the last time W.R. saw A.R.

       A.      The Government Denied W.R. Information Regarding Her Son.

       46.     W.R. was detained in Arizona for approximately ten days. W.R. was subsequently

transferred to two other facilities, the locations of which she did not know. On or around June 8,

2018, W.R. was transferred to a detention center in Eloy, Arizona.




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       47.     During her detention, W.R. repeatedly asked about A.R.’s whereabouts and well-

being but was not provided any information. During this time, she was devastated, desperate, and

extremely distressed. She feared for her son’s well-being and she did not know if she would ever

see her son again.

       48.     On or about June 9, 2018, W.R. learned for the first time that she could submit a

“Detainee Request Form” to request information about A.R. W.R. immediately submitted this

form. In response, W.R. was given a phone number to call to reach her son, but was told she could

not call it until June 13, 2018. She was never provided with her son’s immigration case number

(A number).

       49.     After a number of unsuccessful attempts to reach A.R., W.R. finally spoke to A.R.

via telephone on or about June 19, 2018 – nearly three weeks after their separation.

       50.     W.R.’s family posted a $7,500 bond to have her released. Based upon what she

had been previously told, W.R. believed that A.R. would then be released to her.

       51.     On June 20, 2018, she was released from custody and dropped off at a bus station

near Eloy, Arizona. W.R. then flew to Boston, Massachusetts, where she was met by family

members.

       52.     Before leaving Arizona, and when she reached Massachusetts, W.R. continued to

try the telephone number provided to her to reach A.R. On some occasions, she has been able to

get through to A.R., but on others she has not been permitted to speak to him. Her conversations

with A.R. are limited to 3-5 minutes. A.R.’s phone conversations are monitored, and A.R. is not

permitted to tell W.R. where he is located or how he traveled there.

       53.     W.R. used the internet to research the area codes in the phone numbers she had

been given. Through this research, W.R. developed the belief that A.R. had been moved from



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Arizona to Texas and was currently being housed in Texas. W.R. asked staff who answered the

phone number she called to confirm A.R.’s location in Texas, but the staff members refused.

       54.     On June 25, 2018, W.R. spoke with a BCFS case manager at the facility where A.R.

is being held. The case manager told W.R. that she would need to fill out and submit a “Family

Reunification Packet” to secure her son’s release. This paperwork required W.R., A.R.’s mother,

to apply as a “sponsor” of A.R. W.R., as well as her adult family members living in her household,

promptly completed and returned 46 pages of paperwork that same day. The case worker refused

to tell her the name or location of the facility where A.R. was held.

       B.      The Government Refuses To Release W.R.’s Son To Her Custody.

       55.     On June 27, 2018, a BCFS case worker called W.R. to conduct a telephone

“interview” that she said was required to “sponsor” a child. W.R. asked a number of questions

regarding A.R’s well-being and location. For the first time, the case worker confirmed that A.R.

was being held in a BCFS facility in Baytown, Texas.

       56.     W.R asked additional questions about A.R., some of which the case worker

answered and some of which she refused to answer. Specifically, W.R. asked for A.R.’s alien

registration number, but the case worker refused to provide it. The case worker then told W.R.

that because W.R. had so many questions, she was going to “have to reschedule the interview.”

W.R. stopped asking questions and asked the case worker to conduct the interview because she

did not want to do anything to delay or jeopardize A.R.’s release. During the interview, the case

worker repeatedly referred to W.R. as a “sponsor” and not as A.R.’s mother or parent.

       57.     The case worker’s very first question to W.R. was whether she is religious, and if

so, what religion she practices. The case worker then asked W.R. whether she was Christian and




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attended church and how often. W.R. replied that she is religious and attends church regularly,

the case worker responded “Great!”

       58.     The case worker asked additional questions about a variety of topics, including:

W.R.’s marital status, and how W.R. intended to “discipline” A.R., where A.R. would live, how

many bedrooms and bathrooms were in the home where A.R. would reside, where A.R. would go

to school, how A.R. would get to and from school, whether W.R. knew where the closest hospital

or clinic was located, whether A.R. had any health or behavioral problems, and whether A.R. had

suffered any trauma or abuse. W.R. answered all of the case worker’s questions without objection

because she did not want to jeopardize her reunification with her son, A.R.

       59.     The case worker then asked many questions completely unrelated to W.R.’s

biological relationship with her son, or her care of her son. These questions included: what date

did W.R. leave Brazil, who planned the trip, how W.R. paid for the trip, what modes of

transportation W.R. and A.R. used to travel to the United States, why W.R. and A.R. came to the

United States, and whether anyone had ever threatened to report W.R. to the police or to

immigration authorities. Again, W.R. answered all questions without objection, because she

feared that any objection would jeopardize or further delay A.R.’s release.

       60.     The case worker then told W.R. that ORR’s policy now required additional

documents to complete the application for her son’s release. Specifically, the amended ORR rules

purportedly require W.R. to provide a release form signed by all other adult relatives currently

residing with W.R. In addition, the amended ORR rules purportedly require fingerprints from

W.R. and these same relatives.

       61.     Finally, the case worker told W.R. that once the fingerprinting was complete, it

would take another “3-5 business days,” perhaps longer, to get the results of the fingerprint check.



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The case worker stated that only after all adults in W.R.’s household “cleared” the fingerprinting

process would ORR continue to process and evaluate her “sponsor” application. W.R. has been

informed by other government sources that it could take more than 20 days after the fingerprints

for a decision to be reached on her “sponsor” application of her son, A.R.

       62.        Anxious to obtain A.R.’s release as soon as possible, W.R.’s relatives filled out the

additional release forms immediately and returned them to ORR via fax within one hour of the

telephone call with the case worker.

       63.        Upon hearing how much time the reunification process would take, W.R. was

devastated. W.R. had been trying to locate A.R. and obtain his release for nearly a month, and she

broke down in tears following the “interview” with the case worker.

       64.         Later in the evening on June 27, 2018, W.R. was informed by the case worker that

she and her relatives could go to a third-party location for fingerprinting at 10:00 AM the following

day. W.R.’s brother took off work in order to attend the appointment in hopes of obtaining the

release of A.R.

       65.        The morning of June 28, 2018, W.R. and her relatives, accompanied by counsel,

arrived at the specified location to have their fingerprints taken. Once there, W.R. learned that the

appointment was not for fingerprinting, but was instead a “legal orientation program” for potential

“sponsors.” W.R. was upset that she could not complete the fingerprinting. She was also

concerned that her parental rights were not being recognized and that she was being treated as a

stranger to her son. Nonetheless, W.R. attended the orientation program out of fear that her refusal

to attend would jeopardize or delay A.R.’s release. The program was held in Spanish, a language

that W.R. does not understand.




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       66.     While at the “orientation” program, W.R. received a call from another BCFS case

worker, who informed her that the earliest available date for fingerprinting was July 12, 2018. The

case worker informed W.R. that the only place she could go for fingerprinting was a particular

vendor in Worcester, Massachusetts; this vendor is located over 50 miles away from the town

where W.R. resides. W.R. offered to have her and her family’s fingerprints taken at the USCIS

building near Boston, but she was informed she could not go there. W.R. has tried unsuccessfully

to get an earlier fingerprinting appointment date.

       67.     Accordingly, under the government’s timeline, W.R. cannot be reunited with her

son until, at the earliest, late July 2018—nearly two months since their forcible separation.

       68.     W.R. has not seen her son since he was taken from her on May 30, 2018. She

worries about his well-being and safety, and does not know when she will see him again. She is

desperate to be reunited with him. W.R. considers her separation from A.R. to be the worst

experience of her life.

       69.     A.R. was terrified and upset by his forcible removal from his mother. Before

fleeing for the U.S., A.R. was physically abused by his father and was traumatized by that event.

Each day that A.R. and W.R. are separated causes A.R. greater harm and leads to further emotional

trauma, which could potentially become permanent. W.R. fears for A.R.’s safety as long as he is

detained and separated from her.

       70.     The government has no legitimate interest in—or legal basis for—separating W.R.

from her son. There is no evidence, or even allegation, that W.R. is not A.R.’s parent or that W.R.

is an unfit parent. To the contrary, all of the evidence and the efforts undertaken by W.R.

demonstrate that she is acting in the best interests of her child. She should be reunited with her

son immediately.



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                                      CAUSES OF ACTION

                                               Count I

                                   (Declaratory Judgment Act)

          71.   All of the foregoing allegations are repeated and realleged as though fully set forth

herein.

          72.   The federal Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202, provides that “[i]n

a case of actual controversy within its jurisdiction . . . any court of the United States . . . may

declare the rights and other legal relations of any interested party seeking such declaration, whether

or not further relief is or could be sought.” 28 U.S.C. § 2201(a).

          73.   There is an actual controversy between the parties because Defendants have refused

to immediately release A.R. into his mother’s custody. The Court should exercise its authority

under the Declaratory Judgment Act to declare that Defendants have no basis to refuse to release

A.R. and to order Defendants to immediately release A.R. into the custody of his mother, W.R.

                                             COUNT II

                                 (Petition for Writ of Mandamus)

          74.   All of the foregoing allegations are repeated and realleged as though fully set forth

herein.

          75.   Federal district courts have original jurisdiction to hear “any action in the nature of

mandamus to compel an officer or employee of the United States or any agency thereof to perform

a duty owed to the plaintiff.” 28 U.S.C. § 1361; see also Samirah v. Holder, 627 F.3d 652, 661

(7th Cir. 2010) (remanding case to district court to issue writ of mandamus commanding Attorney

General to take necessary steps to enable alien to reenter United States).




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          76.   Here, as explained above, defendants owe a duty to W.R. and her son to

immediately release A.R. into W.R.’s custody. It is therefore appropriate for this court to issue a

writ of mandamus commanding the Defendants to immediately release W.R.’s son.

                                            COUNT III

                              (Petition for Writ of Habeas Corpus)

          77.   All of the foregoing allegations are repeated and realleged as though fully set forth

herein.

          78.   Plaintiff A.R., as a natural person present in the United States, has a constitutional

liberty interest in release from unlawful detention through the writ of habeas corpus.

          79.   This Court has jurisdiction to issue a writ of habeas corpus to end the detention of

Defendant A.R. because her continued detention violates her legal and constitutional rights as set

forth above.

                                            COUNT IV

                          (Violation of Administrative Procedure Act)

          80.   All of the foregoing allegations are repeated and realleged as though fully set forth

herein.

          81.   Defendants have violated the APA on two separate grounds, set forth below as

Count IV(a) and Count IV(b).

    Count IV(a) – Subjecting W.R. and A.R. To “Unaccompanied Alien Child” Release
                                      Procedures

          82.   Under the APA, “final agency action for which there is no other adequate remedy

in court [is] subject to judicial review.” 5 U.S.C. § 704. Upon judicial review, “agency action,

findings, and conclusions” shall be “h[e]ld unlawful and set aside” when they are “arbitrary,




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capricious, an abuse of discretion, or otherwise not in accordance with law,” or “unsupported by

substantial evidence.” 5 U.S.C. §§ 706(2)(A), (E).

       83.     The ORR’s decision to apply its policies and procedures for “sponsoring” an

“unaccompanied alien child” to the parents who were forcibly separated from their children by the

U.S. government are final decisions for purposes of the APA. Subjecting A.R. and W.R. to

procedures intended only for children who enter this country without parents, causes Plaintiffs to

suffer consequences that only this Court can rectify. These decisions and actions are arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with the law because, among

other reasons, they go beyond the ORR’s statutory grant of authority provided by congress and do

not comply with the ORR’s internal procedures.

       84.     Plaintiffs respectfully request that this Court enter an order compelling Defendants

to immediately release A.R. into the custody of his mother, W.R.

                           Count IV(b) - Application of ORR’s Rules

       85.     ORR is requiring that W.R. satisfy the ORR’s rules and procedures for the release

of an unaccompanied alien child before the ORR will return A.R. to his mother. But the ORR

rules being applied were never intended to address situations where a child is removed from a

parent while that parent remains in the United States pending an asylum hearing. Accordingly,

ORR’s decision to apply its rules for the “sponsorship” of an “unaccompanied alien child” to

A.R., who entered the United States with his mother and was forcibly separated from her by the

Defendants, violates the APA.

       86.     Congress has charged HHS and, by extension, ORR, with “promptly placing”

unaccompanied minors in its custody “in the least restrictive setting that is in the best interest of

the child[.]” 8 U.S.C. § 1232(c). In turn, ORR has established rules and procedures (hereafter



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“ORR rules”) for the purported “Safe and Timely Release process” for “Children Entering the

United States Unaccompanied.” 1

         87.      Certain ORR rules were amended in June 2018 with a so-called “zero tolerance”

policy implemented by the HHS. 2                 These amendments made it more difficult to release

“unaccompanied” children by creating a new requirement that both the parent and each adult

household member in the home of the “sponsor” be fingerprinted. See ORR Rule 2.5.1;

2.6.2. Under the policy, fingerprints are shared with DHS for immigration checks and criminal

checks. See id.

         88.      Purportedly pursuant to those amended rules, ORR has refused to return A.R. to his

mother unless, among other things, W.R., and her two adult family members with whom she lives

submit to a fingerprinting process. See ORR Rule 2.5.1, 2.6.2. These procedures are required of

W.R. despite the fact that she was already fingerprinted at the border, and the fact that her child

was taken from her by the government itself.

         89.      Complying with these procedures requires W.R. to wait until July 12, 2018, for the

earliest available fingerprint appointment. Because processing could take additional weeks after

the application for “sponsorship” is complete, it is likely the earliest that ORR could reunite W.R.

with her nine-year-old son is late July 2018. This would result in a two-month period of forced

separation of mother and child.



1
  See Office of Refugee Resettlement, Children Entering the United States Unaccompanied, Section Two, available
at https://www.acf.hhs.gov/orr/resource/children-entering-the-united-statesunaccompanied-section-2#2.2.3. “These
policies are posted on ORR's website but are not promulgated through any formal agency rule-making process and
do not appear to have any binding effect.”
2
  HHS’s Deputy Secretary’s statement from May 28, 2018 announced: “[F]amilies with children that enter into the
United States illegally will be separated when the parent is transferred to federal custody for breaking United States
law. If parents do not wish to be separated from their children, they should not violate the laws of the United
States[.]” United States Department Of Health and Human Services, Statement by HHS Deputy Secretary on
Unaccompanied Alien Children Program (available at https://www.hhs.gov/about/news/2018/05/28/statement-hhs-
deputy-secretary-unaccompanied-alienchildren-program.html).

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          90.   In light of the ORR’s mission to “promptly place” minors into “the least restrictive

setting that is in the best interest of the child,” as well as the terms of the Flores Settlement (infra),

the ORR’s insistence that the A.R. remain separated from his mother while W.R. (and other

relatives) complete a month-long fingerprinting and background check process is arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with the law.

          91.   ORR’s decision to impose this requirement is a final decision for purposes of the

APA. As a result of the ORR’s unlawful decision, Plaintiffs suffer consequences that only this

Court can rectify.

          92.   On June 28, 2018, District Judge Manish S. Shah of the United States District Court

for the Northern District of Illinois ordered the immediate release of a minor child forcibly

separated from his mother after entering the United States at the southern border. The Court found

that “where the parent’s fitness is not disputed, it is reasonably likely that [the child] no longer

falls under [the statutory definition of an unaccompanied minor]” and the child’s “continued

placement with ORR and [the facility holding the child] likely violates the law, and at a minimum

likely interferes with familiar integrity without sufficient procedural justification.” The Court

continued that “[c]ontinued separation of [the child] … and [mother] irreparably harms them

both.” Souza v. Sessions, 1:18 cv 04412, Order (N.D. Ill., June 28, 2018).

          93.   Plaintiffs respectfully request that this Court enter an order compelling Defendants

to immediately refrain from imposing the ORR rules and related “sponsorship” policy and

procedures on W.R. and immediately release A.R. into her custody and control.

                                              COUNT V

                     (Violation of Substantive and Procedural Due Process)

          94.   All of the foregoing allegations are repeated and realleged as though fully set forth

herein.
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       95.      The Due Process Clause of the Fifth Amendment applies to all “persons” on United

States soil and thus applies to W.R. and her son, A.R.

       96.      W.R. and her son, A.R., have a liberty interest under the Due Process Clause in

remaining together as a family.

       97.      The separation of W.R. from her son, and the Defendants’ ongoing failure to reunite

them, violates substantive due process because they further no legitimate purpose and no

compelling governmental interest.

       98.      Moreover, W.R. and her son were denied, and are still being denied, procedural due

process. They were forcibly separated without any process, and W.R. has been prevented from

reuniting with her son. ORR’s mechanical application of procedures for the sponsorship of

unaccompanied minors to the reunification of minor children and their parents who were forcibly

separated by the U.S. government is arbitrary and capricious.

       99.      On June 6, 2018, District Judge Dana M. Sabraw of the United States District Court

for the Southern District of California denied a motion brought by ICE to dismiss similar due

process claims brought on behalf of parents who had been forcibly separated from their children.

See Ms. L. V. U.S. Immigration and customs enforcement, --- F. Supp. 3d ---, 2018 WL 2725736,

at *12 (S.D. Cal. June 6, 2018) (describing allegations of “brutal, offensive” governmental conduct

that “shocks the conscience” and “violates plaintiffs’ constitutional right to family integrity”). For

the same reasons identified by Judge Sabraw, the facts alleged above demonstrate that Defendants

violated the due process rights of W.R. and her son.

                                            COUNT VI

                        (Violation of the Flores Settlement Agreement)

       100.     All of the foregoing allegations are repeated and realleged as though fully set

forth herein.
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       101.      A.R.’s detention in Baytown, Texas, at a BCFS facility, violates the Settlement

Agreement in Flores v. Sessions, No. 85-cv-4544 (C.D. Cal) (“Flores Settlement” or

“Settlement”). The United States Department of Justice entered into the Flores Settlement in

January 1997 and it continues to be binding upon U.S. Government agencies, including ICE.

       102.      The Flores Settlement relates to an agreement that sets forth a “nationwide policy

for the detention, release, and treatment of minors in the custody of [Immigration and

Naturalization Services] INS” which requires INS to treat “all minors in its custody with dignity,

respect and special concern for their particular vulnerability as minors.” See Flores Settlement at

¶¶ 9-11. A “minor” is “any person under the age of eighteen (18) years who is detained in the

legal custody of the INS.” See id. ¶ 4; see Flores v. Lynch, 828 F.3d 898, 905-6 (9th Cir. 2016).

       103.      Paragraph 24(B) of the Flores Settlement sets forth a minor’s right to challenge a

determination to place the minor in a particular facility when in government custody. The minor

may seek judicial review in “any United States District Court with jurisdiction and venue over the

matter to challenge the placement determination.” See Flores Settlement at ¶ 24(b).

       104.      Paragraph 14 of the Flores Settlement requires that “[w]here the INS determines

that the detention of the minor is not required either to secure his or her timely appearance before

the INS or the immigration court, or to ensure the minor’s safety or that of others, the INS shall

release a minor from its custody without unnecessary delay[.]” See Flores Settlement at 14.

Paragraph 14 sets forth the “order of preference” for the release of a child; release to a parent is

preferred. Id.

       105.      Moreover, the Flores Settlement requires INS to “place each detained minor in the

least restrictive setting appropriate to the minor’s age and special needs, provided that such setting

is consistent with its interests to ensure the minor’s timely appearance before the INS and the



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immigration courts and to protect the minor’s well-being and that of others.” See Flores Settlement

at ¶ 11 (emphasis added).

        106.     This action is brought on behalf of A.R., by A.R.’s mother, W.R., to enforce the

Flores Settlement, to secure A.R.’s release, and to allow the reunification of A.R. and his mother.

        107.     Defendants’ policies, practices, acts, and omissions with respect to A.R.’s

continued detention deprive A.R. and his mother of their rights under the Flores Settlement by

failing to place A.R. in the least restrictive setting, failing to reunite A.R. with his parent, and

failing to effect A.R.s release to his parent when it was possible to do so. See Flores Settlement

¶¶ 11, 14, 19.

        108.     W.R. has been and continues to be available to provide care and custody for A.R.

To date, the government has made no attempts to reunite A.R. and his mother.

        109.     The forcible separation of A.R. From his mother is an intentional interference with

parental rights. See Flores Settlement at ¶ 24. State laws provide substantive and procedural

protections of the rights of parents to care for their children, and of children to be with their parents,

such that children may only be separated from their parents as a matter of last resort.

        110.     The Flores Settlement permits a child to contest the placement decision of

defendants. A.R., by and through his mother, asserts this right and alleges that his placement

thousands of miles away from his accompanying parent is improper. Flores Settlement at ¶ 24.

        111.     As a proximate result of Defendants’ policies, practices, acts, and omissions, A.R.

has suffered and will continue to suffer immediate and irreparable injury, including physical,

psychological, and emotional injury. The injunctive relief sought by A.R. is necessary to prevent

continued and further injury.




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                                             COUNT VII

                 (Violation of the Fifth Amendment’s Equal Protection Guarantee)

          112.    All of the foregoing allegations are repeated and realleged as though fully set forth

herein.

          113.    The Fifth Amendment contains an implicit guarantee of equal protection that

invalidates any official action that in part reflects a racially discriminatory intent or purpose.

Classifications based on race or national origin receive exacting scrutiny, and even facially neutral

policies and practices will be held unconstitutional when they reflect a pattern unexplainable on

grounds other than race or national origin.

          114.    Defendants’ decisions to separate families from Central and South America

arriving at the southern border seeking asylum, and to isolate children in detention facilities

separate from their parents, are unconstitutional because they were motivated, at least in part, by

intentional discrimination based on race, ethnicity, and/or national origin. This intentional

discrimination includes bias against immigrants perceived to come from Central or South

American countries.

          115.    As a result of these decisions, including the decisions that have caused their

separation, W.R. and A.R. have been and are being denied equal protection.

                                       PRAYER FOR RELIEF

          Plaintiffs respectfully request that the Court enter a judgment against Defendants and

award the following relief:

          A.      Declare that Defendants have no basis to hold or maintain custody over A.R.;

          B.      Declare that Defendants must immediately release A.R. into the custody of his

mother, W.R.;

          C.      Hold that Defendants violated the due process rights of W.R. and A.R.;

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       D.     Issue a writ of mandamus requiring that Defendants immediately release A.R. into

the custody of his mother, W.R.;

       E.     Issue a writ of Habeas Corpus requiring Defendants to release A.R. immediately;

       F.     Hold that Defendants violated the Administrative Procedure Act;

       G.     Hold that Defendants violated the Flores Settlement Agreement;

       H.     Hold that Defendants violated the Fifth Amendment’s Equal Protection Clause;

       I.     Preliminarily and permanently enjoin Defendants from continuing to separate W.R.

from her minor son, A.R.;

       J.     Enjoin Defendants from removing W.R. from the country until she is reunited with

her minor son, A.R.;

       K.     Damages in an amount to be determined at trial;

       L.     Require Defendants to pay Plaintiffs’ reasonable attorneys’ fees and costs; and

       M.     Order all relief that is just and proper.




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Dated: June 29, 2018                   Respectfully submitted,

                                       Plaintiffs W.R. and her son, A.R., by and
                                       through his mother, W.R.,

                                       By their attorneys,

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